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IN THE UNITED STATES DISTRICT-COURT '
FOR THE WESTERN DISTRICT OF TBR
AUSTIN DIVISION: ©:

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RAPISTAN SYSTEMS ADVERTISING _ ) ocean 2
CORP. and SIEMENS DEMATIC CORP., )

O3Ch 2
Plaintiffs, ) A A 6 8 Ly
) Civil Action No.
v. )
)
SK DAIFUKU CORPORATION, )
)
Defendant. )
COMPLAINT

Rapistan Systems Advertising Corp. and Siemens Dematic Corp. hereby
complain of SK Daifuku Corporation, and allege as follows:

THE PARTIES

1. Rapistan Systems Advertising Corp. is a corporation organized
and existing under the laws of the State of Delaware, having a principal place of
business at 425 Plymouth Avenue, N.E., Grand Rapids, Michigan, 49505-6098
(hereinafter "Rapistan").

2. Siemens Dematic Corp. is a corporation organized and existing
under the laws of the State of New York, having a principal place of business at 507
Plymouth Avenue, N.E., Grand Rapids, Michigan, 49505-6098 (hereinafter
"Siemens").

3. SK Daifuku Corporation, upon information and belief, is a

corporation organized and existing under the laws of the State of Utah, and having a
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principal place of business at 5202 Douglas Corrigan Way, Salt Lake City, Utah,
84116-3191 (hereinafter "Daifuku" or "Defendant").

4. Daifuku, upon information and belief, is doing business within
the State of Texas and within the Western District of Texas, and is engaged in
continuous and systematic business within the Western District of Texas, and including
the commission of acts of infringement as hereinafter stated.

JURISDICTION AND VENUE

5. This action arises under the patent laws of the United States, Title
35 of the United States Code, §§1, et seq.

6. This Court has jurisdiction in this action under 28 U.S.C. §§1331
and 1338. Venue is proper in this judicial district pursuant to 28 U.S.C. §§1391 and
1400.

BACKGROUND ALLEGATIONS

7. On July 7, 1992, United States Letters Patent No. 5,127,510 was
duly and legaily issued to Siemens’ predecessor, Rapistan Demag Corporation, as
owner by assignment thereof, for an invention entitled "Modular Diverter Shoe and Slat
Construction." A true and correct copy of United States Patent No. 5,127,510 is
attached hereto as Exhibit 1 (hereinafter the "'510 Patent").

8. Rapistan is the current owner by assignment of all right, title, and
interest in and to the '510 Patent. Siemens is the exclusive licensee of the '510 Patent
and maintains the right to sue, and recover for past, present, and future infringement

thereof.
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9, Plaintiffs and their predecessors have caused the required
statutory notice to be placed on all products manufactured and sold by them under the
'510 Patent.

COUNT I

INFRINGEMENT OF UNITED STATES PATENT NO. 5,127,510

10. _ Plaintiffs incorporate and reassert paragraphs 1-9 herein by
reference.

11. Daifuku has, on information and belief, in the past been and still
is infringing United States Letters Patent No. 5,127,510 by making, importing, using,
selling, and/or offering for sale in and to the United States products incorporating
conveying systems and diverter shoes for use in conveyor systems embodying the
patented inventions of the '510 Patent.

12. Upon information and belief, with knowledge and/or reckless
disregard amounting to knowledge of the infringement by the aforesaid products of the
'510 Patent, Defendant has provided conveying systems and diverter shoes for use in
conveyor systems to at least one third party for use in infringement of the '510 Patent.
Use by third parties of the aforesaid conveying systems and diverter shoes for use in
conveyor systems obtained from or through Daifuku, upon information and belief,
infringes the ‘510 Patent. The actions of Daifuku constitute inducement of
infringement of United States Letters Patent No. 5,127,510.

13. Upon information and belief, Daifuku imports, sells, and/or
offers to sell conveying systems, diverter shoes for use in conveyor systems, and/or

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components thereof with knowledge and/or reckless disregard amounting to knowledge
that said products and/or components thereof constitute a material part of the invention
of the '510 Patent and that are specially made or specially adapted for use in the
infringement of the '510 Patent, and said conveying systems and diverter shoes for use
in the conveyor systems and/or components thereof are not a staple article or
commodity of commerce suitable for substantial noninfringing use. The actions of
Daifuku constitute contributory infringement of United States Letters Patent No.
5,127,510.

14. Despite any statement to the contrary, upon information and
belief, Daifuku will continue to infringe, contributorily infringe, and induce
infringement of the '510 Patent unless enjoined by this Court.

15. | Upon information and belief, Defendant's infringement,
contributory infringement, and inducement of infringement have been willful.

16. | Upon information and belief, Defendant's infringement,
contributory infringement, and inducement of infringement have resulted in damage to
Plaintiffs and will continue to do so unless enjoined by this Court.

17. _ Plaintiffs have no adequate remedy at law and are, therefore,
entitled to a permanent injunction prohibiting further infringement by Defendant.

18. Defendant's manufacture, use, sale, offer to sell, and/or
distribution of these products that infringe, contributorily infringe, and induce
infringement of the '510 Patent have caused Plaintiffs to suffer damages in an amount

not yet determined but which will be proven at trial.

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WHEREFORE, Rapistan and Siemens demand that judgment be entered
in their favor against Daifuku as follows:

A. Permanently enjoining Daifuku, its officers, agents, servants,
employees, attorneys, and all those persons in privity or in active concert or
participation with it, and each of them, from further manufacture, importation, sale,
offer for sale, and/or use of a product which infringes, contributorily infringes, or
induces infringement of the '510 Patent.

B. Permanently enjoining Daifuku, its officers, agents, servants,
employees, attorneys, and all those persons in privity or in active concert or
participation with it, and each of them, from further acts of infringement of the '510
Patent.

C. Ordering an accounting.

D. Awarding damages adequate to compensate Plaintiffs for
Defendant's infringement, contributory infringement, and inducement of infringement
of the '510 Patent.

E. Increasing the damages up to three times the amount found or
assessed for Defendant's willful acts of infringement.

F, Awarding prejudgment interest and costs.

G. Finding this to be an exceptional case and awarding reasonable
attorneys’ fees to Plaintiffs.

H. — Such other and further relief as is necessary and appropriate.
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Dated: September £6, 2003

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

NOTICE OF DOCUMENT(S) NOT IMAGED
AND CONTAINED IN FOLDER

Civil Case No. 1:03ca682

Rapistan Systems Advertising Corp., et al

VS.

SK Daifuku Corporation
Attachments to

Document #: 1
Description: Complaint
Filed By: pla

File Date: 09/26/03
